     Case 2:22-mj-01665 Document 2 Filed 04/29/22 Page 1 of 2 Page ID #:12

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                                        CASE NUMBER:


UNITED STATES OF AMERICA                                    2:22−mj−01665

                                         PLAINTIFF(S)

          v.
SUBPOENA , et al.
                                                          NOTICE TO FILER OF DEFICIENCIES
                                                             IN CRIMINAL DUTY MATTERS
                                       DEFENDANT(S)         E-FILING PILOT PROJECT CASE



PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed case/document:
 4/29/2022             1        APPLICATION for Non−Disclosure of Subpoena
Date Filed           Doc. No. Title of Doc.

ERROR(S) WITH DOCUMENT

     NOT A PILOT PROJECT MATTER
     The document you filed is not included in the pilot project established by General Orders 19-01
     and 20-13 and must, therefore, be manually filed. Please bring your document to a Clerk's Office
     Criminal Intake window for filing, where a new case will be opened. This case has been
     administratively closed. Documents filed in this case after the issuance of this notice will not be
     reviewed.

     INCORRECT OR NO CASE NUMBER ON DOCUMENT
     The caption of the document you filed indicates a case number different than that of the case in
     which you filed it. Please file, under the same case number, an amended document displaying
     the correct case number. Once the correction has been made, the case intake process will be
     completed. If no action is taken within thirty days, this case will be administratively closed.

     PROPOSED ORDER NOT SUBMITTED WITH APPLICATION
     If the application is to be reviewed by a magistrate judge, please e-mail a copy of the proposed
     order to the appropriate Magistrate Judge's Criminal Duty Chambers e-mail address (unless
     previously directed otherwise, the magistrate judge assigned to document duty the day the
     application was filed). If the application is to be reviewed by a district judge, please e-mail a
     copy of the proposed order to the assigned District Judge's Chambers e-mail address.

     OTHER: There should be only one defendant on this case. There can not be
     more then one defendant. The subpoena is for Yelp and not for the targets of the
X investigation. This case will be closed and the documents filed in this case after
     the issuance of the notice will not be reviewed. Pull a new MJ number for this
     subpoena.
Date: April 29, 2022
                                              Clerk, U.S. District Court
                                                     By: /s/ Johanie Banegas
                                                        Deputy Clerk
       Case 2:22-mj-01665 Document 2 Filed 04/29/22 Page 2 of 2 Page ID #:13
CR-02 (10/20)   NOTICE TO FILER OF DEFICIENCIES IN CRIMINAL DUTY MATTERS E-FILING PILOT PROJECT CASE
